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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
TANYA GILL, )
)
Plaintiff, )
) Case No. 12 CV 2963
VS. )
) Honorable John J. Tharp, Jr.
VILLAGE OF MELROSE PARK, et al. ) Magistrate Judge Sheila M. Finnegan
)
Defendants. )

SWORN AFFIDAVIT OF VITO MIGLIORE

I, VITO MIGLIORE, being first duly sworn upon oath, do state and depose that I have
personal knowledge of all facts which follow and, if called, I could testify to the following:

1. I am a police officer employed by the Village of Melrose Park.

2, ] was working in my capacity as a patrol officer on April 2, 2011.

3, At approximately 11:42 p.m. I responded to a dispatched report of a potential
battery at the I-Bar located at 2010 W, North Avenue in Melrose Park, Illinois.

4, Upon arriving at the scene, I exited my police vehicle and entered the I-Bar.
Melrose Park police officers Adam Gibson, Mike Recinos, Dennis Natale and Leonard Bartemio
were also at the scene. I spoke to one of the officers who stated that the parties involved in the
incident were asked to come outside. I then walked out of the I-Bar and waited by the front
door. Ms. Tanya Gill, the alleged victim, eventually came outside and I signaled for her to come
speak with me.

5, Ms. Gill’s friend, Ms. Tonya Frizell, also came out with Ms. Gill. Ms. Frizell was

yelling that Ms. Gill had been slapped in the face and she wanted the offender arrested. Ms.

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Frizell was asked on several occasions to calm down and let Ms. Gill explain what happened to
the officers. Ms. Frizell was speaking in an agitated and loud tone, making it difficult for me to
speak with Ms. Gill.

6. 1-Bar owner Bartosz Bazan also came out of the I-Bar and stated that he was
behind the bar at the time of the alleged incident and did not see the alleged battery. Several
other Melrose Park officers interviewed patrons inside the I-Bar, as well as the bartender, and
none reportedly saw the alleged battery.

7. I began questioning Ms. Gill about the incident. Ms. Gill stated that she was
pushed backwards by another bar patron while standing at the bar and then struck in the face by
the same patron. On several occasions I had to ask Ms. Gill to repeat herself because of the loud
noise outside the bar and because many people were talking at the same time.

8. T asked Ms. Gill again to explain to me what happened. Ms. Gill then pushed me
with her left forearm making physical contact with my stomach and chest, and causing me to
move backward.

9, I did not ask Ms. Giil to physically show me on my person how she was struck.

10. Ms. Gill is 6’0 tall and was wearing 3-inch high heels.

11. lam 5°10” tall and, at the time, I weighed about 160 pounds.

12. Ms. Gill was quite larger than me.

13, In response to Ms. Gill making contact with me, and for my own safety, I grabbed
Ms, Gill’s arm by the wrist with one hand and her elbow with another hand, and placed her arm
behind her back. This is-called an arm bar control technique and was a use of force option taught

in the police academy.

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14. In order to control the situation and remove Ms. Gill away from the crowd that
has gathered on the sidewalk, I walked her to a nearby car until I believed she was no longer a
threat to my safety. I held Ms. Gill’s arm in that position for approximately 25-30 seconds and
then released her.

15.  Atno time did Ms. Gill state that | was hurting her.

16. Upon release, I spoke with Ms. Gill and she then walked away from me and into
the I-Bar parking lot.

17. T eventually left the I-Bar and continued with my patrol duties.

Further affiant sayeth not.

Ut Mex:

VITO MIGLJORE
SUBSCRIBED and SWORN to before

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me this Gay of February, 2013.

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NOTARY PUBLIC

MARCIA CUCCI

NOTARY PUBLIC, STATE OF ILLINOIS
My Commission Expires 03/12/2015

